
8 N.Y.2d 1127 (1960)
In the Matter of Lucille Boss, Appellant,
v.
Joseph J. Caputa, as State Rent Administrator, Respondent, and Charlene Grenard, Intervenor-Respondent.
Court of Appeals of the State of New York.
Argued October 13, 1960.
Decided November 30, 1960.
Basil R. Pollitt and M. Kenneth Boss for appellant.
Emory Gardiner and Harold Zucker for respondent.
Concur: Chief Judge DESMOND and Judges DYE, FULD and FOSTER. Dissent: Judges FROESSEL, VAN VOORHIS and BURKE.
Order affirmed, with costs to the State Rent Administrator: no opinion.
Judges FROESSEL, VAN VOORHIS and BURKE dissent and vote to reverse in the following memorandum: We find ourselves unable to acquiesce in this inconsistent approach to decontrol, whereby the upper and lower portions of a single building, renovated as part of one over-all scheme, are severed and treated differently for purposes of decontrol. The statute when fairly read in the light of the salutary policy which impelled its enactment dictates that full decontrol should be here granted.
